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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION



       AT&T CORP.,                                 )
       a New York corporation,                     )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          ) Civil Action No.: 22-cv-914-SDJ
                                                   )
       GOODMAN NETWORKS                            )
       INCORPORATED, a Texas domestic              )
       for-profit corporation,                     )
                                                   )
              Defendant.                           )



                                 DEFAULT JUDGMENT

       Defendant Goodman Networks Incorporated, having failed to appear,

plead or otherwise defend in this action, and default having been entered on

December 20, 2022, and counsel for Plaintiff having requested judgment against

the defaulted Defendant and have filed a proper motion and affidavit in

accordance with Federal Rule of Civil Procedure 55 (a) and (b);

       1.     AT&T is entitled to all amounts owed under the Contracts,

including, but not limited to, the principal amount of at least $1,224,888.49,

plus pre-and post-judgment interest at the rate 1.5% per month (18% per

annum), or the maximum allowed by law; plus all costs including attorney fees.

       2.     On all claims, for interest, costs, and attorney’s fees as allowed by

law.
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      3.     It is ORDERED that Plaintiff have Judgment in the principal

amount still owing on the three accounts totaling $1,224,888.49, and prejudgment

interest on all three accounts in the sum of $187,400.43, including the award of

attorney fees and costs in the amount of $20,752.00 through March 17, 2023, with the

amount of balances owed, totals $1,443,040.92. Said judgment shall accrue interest at

the statutory rate from the date of Judgment satisfied.

      Dated:




                                               2
